               Case 3:23-cr-00004-JSC Document 23 Filed 08/28/23 Page 1 of 2




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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) No. 23-CR-00004 JSC
                                                      )
14           Plaintiff,                               ) NOTICE OF SUBSTITUTION OF COUNSEL
                                                      )
15      v.                                            )
                                                      )
16   ARLIN ESTRADA,                                   )
                                                      )
17           Defendant.                               )
                                                      )
18
19           The United States Attorney’s Office hereby files this Notice of Substitution of Counsel to advise
20 the Court that Assistant United States Attorney George Hageman appears in this matter in substitution of

21 AUSA Hilary Irvin. Future ECF notices should be sent to Assistant United States Attorney George

22 Hageman with the following contact information:

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26
             AUSA Hilary Irvin should be removed from the list of persons to be noticed.
27

28
     NOTICE OF SUBSTITUTION OF COUNSEL               1                                              v. 11/1/2018
     23-CR-00004 JSC
             Case 3:23-cr-00004-JSC Document 23 Filed 08/28/23 Page 2 of 2




 1 DATED: August 28, 2023                           Respectfully submitted,

 2                                                  ISMAIL J. RAMSEY
                                                    United States Attorney
 3

 4
                                                    _/s/George Hageman___________________
 5                                                  GEORGE HAGEMAN
                                                    Assistant United States Attorney
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     NOTICE OF SUBSTITUTION OF COUNSEL     2                                    v. 11/1/2018
     23-CR-00004 JSC
